8 F.3d 816
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Daniel C. BRUCE, Plaintiff-Appellant,v.Sharon N. ODOM;  Ralston Wright Turbeville;  Marion S.Riggs; Harold Walker Detwiler, III;  DavidVelazquez;  Vickie Velazquez; Ray E.Chandler, Defendants-Appellees.
    No. 93-6551.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 26, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Florence.
      Daniel C. Bruce, Appellant Pro Se.
      Ralston Wright Turbeville, Marion S. Riggs, Harold Walker Detwiler, III, Appellees.
      D.S.C.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Bruce v. Odom, No. CA-91-3319-4 (D.S.C. Sept. 1, 1992 &amp; May 5, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         To the extent that Bruce seeks release from custody his claim is properly construed as a 28 U.S.C. § 2254 (1988) action.  Because he provided no evidence of exhaustion his complaint is properly dismissed without prejudice.   See Hamlin v. Warren, 664 F.2d 29 (4th Cir. 1981), cert. denied, 455 U.S. 911 (1982)
      
    
    